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IN THE DISTRICT COURT OF THE UNITED STATES
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
GARY GATES, et al, §
Plaintiffs, :
v. CIVIL ACTION NO. H-02-0495
TEXAS DEPARTMENT OF PROTECTIVE ;
AND REGULATORY SERVICES, et al, §
Defendants ;

JOINT MOTION TO APPROVE SETTLEMENT AGREEMENT

Plaintiffs Gary Gates, Melissa Gates, Individually and as Next Friends to Sarah Gates, Gary
Wilton Gates, George Gates, Scott Gates, Derodrick Gates, Travis Gates, Raquel Gates, Cynthia
Gates, Cassandra Gates, Timothy Gates, Andrew Gates, Alexis Gates, and Marcus Gates (hereinafter
the “Plaintiffs”), and Defendants Lamar Consolidated Independent School District ("LCISD" or
"District"), Marcia Vogelsang, Cynthia Brown, Karen Kleine, and Judy O'Neal, in their individual
and official capacities (hereinafter the “LCISD Defendants’’) respectfully request that the Court
approve the attached settlement agreement on behalf of the following Plaintiffs:

Sarah Gates;
Derodrick Gates;
Travis Gates;
Raquel Gates;
Cynthia Gates;
Cassandra Gates;
Timothy Gates;
Andrew Gates;
Alexis Gates; and
0. Marcus Gates.

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Said Plaintiffs are either minors or are otherwise incompetent to approve the settlement agreement

on their own behalf. The Settlement Agreement is attached as Exhibit A. By the signatures of their

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representatives below, the parties all stipulate to the Court that this Settlement Agreement was jointly

reached by all parties after mutual negotiations, and that all parties believe this settlement to be

beneficial to everyone, including the minor and incompetent Plaintiffs.

Respectfully submitted,

DECKER & ASSOC S

By:

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Attorneys for Defendants Lamar CISD,
Marcia Vogelsang, Cynthia Brown, Karen
Kleine, and Judy O'Neal

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CERTIFICATE OF SERVICE

Ido hereby certify that a true and correct copy of the foregoing document has been forwarded
by hand delivery, telecopier and/or by certified mail, return receipt requested, on July 27, 2006 to:

Mr. Mike Decker
Decker & Associates
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Attorneys for the Child Advocate Defendants

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Attorneys for the CPS Defendants

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Christopher B. Gilbert

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